  

: ; 5 Offandar'a Signature

—€ase: 1:15-cv-06151 Docum
Case: 1:15-cv-G6151 Docu

nt #: 33-8 Filed: 03/28/16 Pag

  

EFENDERS ¢ Bec hee: Ne Page 34 f

 

Offendar:

 

 

4 ~ 94-455

 

 

\Sxsen,

 

 
 

v . DAalen te

Please Pring F No

‘Faclity where grievan
isnue ocurred: “BS abeicale |

 

NATURE OF GRIEVANCE:

 

 

Note: Protective Custody Dantats may be griey e

Administrative Review Board, only if the issue Inv
Administrative Officer.

[7] Personal Property CJ Mail Handing C1 Restoration af Goad Time (Cl Disability

(] Staff Conduct £1 Dietary _—ie Medica! Treatment EI HIPAA

(J Transfer Denial by Factity [] Transfer tenial by ‘Transfer Coordinator Z] Other peepee: Oral Goiy
isciplinary Rep .

C1 icp esis rh reaareaaaeet

Goampleta: Adtech a copy of any pertinent document (auch ae @ Disciplinary Raport, Shakedown Record, ots.) arid serid to;
Counselor, unless the iseue Involves discipline, ig daemad an emergency, or ls subject to direct review by the Adminisirative Review Board,
Grievance Officer, only If the Issue Involves discipline at the present facility o7 Issue not rasclved by Counselor.
Chief Administrative Officer, anly if EMERGENCY grievance.

administration of paychotrople drugs, issues from gnothey facility except personal property Isauas, of Issues not resolved by the Chief

Brief Summary of Grievance: On) a ez {5 -

1d immediately via the iocat administration on the protective Custody status nobificattan.

olves tranatar denini by the Transfer Coordinator, prolective custody, Invetuntary

 

So.
Bucuist ae for Bw and&

fel #150 oc Ber bay, SubSezus.ck af Wie DSE%
Fer enep «
(1 Check only if this is st EMERGENCY grievance due jo a substantial ek of imminent persenal injury or other serious or irreparable harm to salt.

 

sey. 89. His _

 

{Gentinive on reverse aide If necessary)

 

 

 

 

| Gouhsolor’s Response itt applicabio) |

 

Bate

pedN Res flows. oath + AE ohis
GM cv office, You will ak
Krk whey tbe hen (itl <p

RAgrop

Print Gounsdloca Name

Recalved: / O i “’. i {3% [7] Ssad directly te Gravanca Officer

Response: A Ce Py AF ths Siteve ste hers beex Furrmodbert

a

[J Outside Jurisdiction of thig facitty. Sand to
Administrative Review Board, P.C. Box 19277,
field, IL 62704-8277

ta +e tic. Gr Soa levied
OA Liu bwece has beter. Fonuerndif to tHe
Ave 4 Fizel Regaesc Poon, die geicvacd

pe Vert gésauds fo same,

Jo, 3113

fn,
_ ff Comnnsior's Signstura Date of Response

 

 

Date
Recelved:

 

 

Js this detarmined to be of an emergency nature?

Chiat Adminiatrative ‘Officer's Signature

EMERGENCY REVIEW |

E7] Yes: expedite emergency grievance

CJ No; an emergency is not substantiated.
Offender ahauld submit this glevanes
in the nonnal manner,

i wi
Date

 

 

— Ditvibution: Master Pile! OWasder - ~~ _

 

7 ” Page 4 a OO POC oba6 (Rev. 2008) ~~
Piioted on Koacycled Paper
f
ee austin

 

4
3

ime SET

7S ll

mt

   
   
  
